OPINION — AG — BY AN EXAMINATION OF MR. DENYER'S LETTER TO YOU (CLYDE PATRICK) ABOVE REFERRED TO, WE FIND THAT HE, AS CITY ATTORNEY OF DRUMRIGHT, ASKED YOU, AS COUNTY ATTORNEY OF CREEK COUNTY, TO GIVE HIM YOUR OPINION ON SEVERAL QUESTIONS RELATING TO AN INITIATIVE PETITION PROPOSING A DEFINED MUNICIPAL ORDINANCE OF SAID CITY, SAID LETTER STATING THAT " NO CHECK HAS BEEN COMPLETED " OF THE SIGNATURES ON SAID PETITIONS. (AUTHORITY TO GIVE OPINION) CITE: 19 O.S.H. 185, 74 O.S.H. 18(B) (FRED HANSEN)